Case 2:11-cr-20551-LJM-MKM ECF No. 878, PageID.3819 Filed 10/30/14 Page 1 of 1


                                             UNITED STATES DISTRICT COURT
                                         FOR THE EASTERN DISTRICT OF MICHIGAN
                                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                          Plaintiff,

v.                                                                                             Case No. 11-20551–41


COREY WILLIAMS,

           Defendant.
___________________________________/

         ORDER SETTING HEARING, SENTENCING, AND OTHER DEADLINE DATES

             The Defendant, the Government, or both having filed one or more substantive

objections to the Presentence Report to which there has been no response, the court

notes that it has earlier ordered as follows:

             When a party has presented a material objection that has not been accepted by the
             Probation Officer and remains for resolution by the court, any opposition must expressed
             in writing whether or not the court specifically orders a response.

See, Order of April 23, 2014 [Dkt # 717] (emphasis added).

             IT IS ORDERED that each party must respond to the other party’s objection(s) not

later than November 21, 2014. Each party must give notice therein of any witness

intended to be called in support of any position taken or rebutted, and provide the court in

advance any documentary evidence to be relied upon.

             The hearing on objections will occur Wednesday, December 10, 2014 at 3:00 pm.

Sentencing may follow immediately, depending on the extent of the hearing.

Date: October 30, 2014
                                                                              s/Robert H. Cleland
                                                                              ROBERT H. CLELAND
                                                                              United States District Judge


S:\Cleland\LISA\Criminal\11-20551 corey williams Sentencing hearing notice re objections.wpd
